Filed 05/21/19                                                                Case 18-22156                                                         Doc 115


     Fill in this information to identify your case:

     Debtor 1                  Robert Aurthur Hamman
                               First Name                       Middle Name              Last Name

     Debtor 2                  Deanna Clowan Hamman
     (Spouse if, filing)       First Name                       Middle Name              Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number            2018-22156
     (if known)                                                                                                              Check if this is an
                                                                                                                             amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         Shellpoint Mortgage Servicing                        Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of 914 Oak Ridge Drive Roseville,                           Reaffirmation Agreement.
        property       CA 95661 Placer County                                   Retain the property and [explain]:
        securing debt: Value per zillow.com (A)



        Creditor's         West Coast Capital Group Inc.                        Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of 914 Oak Ridge Drive Roseville,                           Reaffirmation Agreement.
        property       CA 95661 Placer County                                   Retain the property and [explain]:
        securing debt: Value per zillow.com (A)



        Creditor's         Worldmark                                            Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of        Worldmark by Windham                              Reaffirmation Agreement.
        property              22,000 credits per year                           Retain the property and [explain]:


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     Debtor 1      Robert Aurthur Hamman
     Debtor 2      Deanna Clowan Hamman                                                                  Case number (if known)    2018-22156

         securing debt:

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                             Will the lease be assumed?

     Lessor's name:               Della C. Waxstein                                                                                  No

                                                                                                                                     Yes

     Description of leased        Acct# 7180
     Property:                    Opened 12/2018
                                  Agreement
                                  2014 Dodge Ram 3500HD Pick Up 156,520 miles


     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Robert Aurthur Hamman                                                    X /s/ Deanna Clowan Hamman
           Robert Aurthur Hamman                                                           Deanna Clowan Hamman
           Signature of Debtor 1                                                           Signature of Debtor 2

           Date        May 21, 2019                                                     Date    May 21, 2019




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